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                            FY 2017 Q4 Earnings Release Conference Call Transcript
                                                June 29, 2017


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                                                 PRESENTATION

   Operator:

   Good afternoon, everyone. Welcome to NIKE, Inc.'s Fiscal 2017 Fourth Quarter Conference Call. For those who
   need to reference today's press release, you'll find it at investors.nike.com. Leading today's call is Nitesh Sharan,
   Vice President, Investor Relations and Treasurer.

   Before I turn the call over to Mr. Sharan, let me remind you that participants on this call will make forward-looking
   statements based on current expectations and those statements are subject to certain risks and uncertainties
   that could cause actual results to differ materially. These risks and uncertainties are detailed in the reports filed
   with the SEC, including the annual report filed on Form 10-K.

   Some forward-looking statements may concern future orders, expectations of revenue -- future revenue growth
   or gross margin.

   Following the conference call, a futures order schedule will be posted on the NIKE Investor Relations website.

   Finally, participants may discuss non-GAAP financial measures, including references to wholesale equivalent
   sales and constant dollar revenue. References to wholesale equivalent sales are only intended to provide
   context as to the overall current market footprint of the brands owned by NIKE, Inc. and should not be relied
   upon as a financial measure of actual results. Similarly, references to constant dollar revenue are intended to
   provide context as to the performance of the business eliminating foreign exchange fluctuations. Participants
   may also make references to other nonpublic financial and statistical information and non-GAAP financial
   measures. To the extent nonpublic financial and statistical information is discussed, presentations of comparable
   GAAP measures and quantitative reconciliations will be made available at NIKE's website, investors.nike.com.

   Now I would like to turn the call over to Nitesh Sharan, Vice President, Investor Relations and Treasurer.

   Nitesh Sharan, Vice President, Investor Relations and Treasurer:

   Thank you, operator. Hello, everyone, and thank you for joining us today to discuss NIKE, Inc.'s fiscal 2017
   fourth quarter and full year results. As the operator indicated, participants on today's call may discuss non-GAAP
   financial measures. You will find the appropriate reconciliations in our press release, which was issued about an
   hour ago or at our website, investors.nike.com.

   Joining us on today's call will be NIKE, Inc. Chairman, President and CEO, Mark Parker; followed by Trevor
   Edwards, President of the NIKE Brand; and finally, you will hear from our Chief Financial Officer, Andy Campion,
   who will give you an in-depth review of our financial results. Following their prepared remarks, we will take your
   questions. We would like to allow as many of you to ask questions as possible in our allotted time. So we would
   appreciate you limiting your initial questions to two. In the event you have additional questions that are not covered by
   others, please feel free to re-que and we will do our best to come back to you. Thanks for your cooperation on this.
   I'll now turn the call over to NIKE, Inc. Chairman, President and CEO, Mark Parker.




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Mark Parker, Chairman, Chief Executive Officer and President, NIKE, Inc.:

Thanks, Nitesh, and hello, and good afternoon, everyone. Serving athletes in today's quickly evolving
marketplace demands a new approach. It means rethinking the fundamentals with an action plan that focuses on
speed and deeper connections with consumers. In fiscal '17, we managed our business through this dynamic
environment, while at the same time, we initiated big changes to set the stage for our future. It was a year for
making aggressive moves, all with the goal of igniting the next phase of accelerated growth for NIKE.

So let's take a look at the numbers for the year. NIKE, Inc. revenues grew 6% to $34.4 billion on a reported
basis. On a currency-neutral basis, NIKE, Inc. revenues grew 8%. Gross margin declined 160 basis points to
44.6%. Earnings per share rose 16% to $2.51, and we delivered ROIC of nearly 35%.

As I reflect on the year and what the consumer is telling us, three insights stand out. First, the consumer appetite
for newness and choice has never been higher. Their connected world means unlimited access to new products,
so when they see something they love, they want more versions of it, from performance innovation to style. For
example, this year, the introduction of the Air VaporMax energized the whole Air platform. Five of our top ten
Sportswear styles featured Air Max cushioning, adding fuel to a NIKE Air business that already represents
several billion dollars.

Second, consumers are choosing brands who lead with elevated service and new experiences. They want
brands that are engaged and make a personal connection. Our opportunity is to create more compelling
experiences in NIKE environments and with our best partners.

Third, consumers want the latest products faster. This year, we continued to build more agility and speed into our
organization. We're becoming better editors through high-impact initiatives like Edit to Amplify, and we're driving
scale and efficiencies. Innovation is how NIKE sets trends, and new capabilities like the Express Lane are how
we adapt to them.

All told, these are the forces helping to shape our Triple Double strategy in our recently announced Consumer
Direct Offense. We've aligned products, design, categories in key cities all the way to the consumer. Supported
by our strong brand, we're executing with precision and focus.

Under this new formation, we're in the best position to drive growth against the biggest opportunities. And we're
clear about what those opportunities are, to double innovation, speed and direct connections with consumers.

So let's start with 2X Innovation. It's about taking the consumer somewhere new and expanding our
opportunities for growth. For example, we all know how critical cushioning is to an athlete's performance and that
different athletes have different preferences. So this summer, we're offering a range of experiences through a
cushioning revolution. That's three new platforms that push the edges of performance. The first is the Air
VaporMax, a product that hits the sweet spot of performance and style. As I've always said, NIKE's competitive
advantage is that our innovation creates new expressions of style. Equally, the consumer expects Lifestyle
products to look good and feel good with no compromise. VaporMax has been very successful out of the gate
with strong sell-through across multiple releases. And looking ahead, we'll add even more breadth to the
VaporMax family of products, scaling it to millions of pairs through fiscal '18 to meet the growing demand.

Another platform, ZoomX, played a key role in an awe-inspiring moment this past May. I was there at the finish
line in Monza, Italy when Eliud Kipchoge finished with an extraordinary 2-hour 25-second marathon time. It was
a thrilling moment for sports and an incredible validator for one of the most amazing breakthroughs I've seen in
performance footwear.

During the NBA Playoffs, another new platform, NIKE React, made its debut in both the NIKE Hyperdunk 2017
and the Jordan SuperFly 5. NIKE React is the first high-performance foam system that offers a major leap
forward in three key benefits: lightweight, ultra-responsiveness and durability in one single platform. With all 3
platforms, we're just getting started. NIKE's strength is our ability to get more out of each of our innovations by
scaling across brands and across sports.

And what you're seeing right now is just a snapshot. We have a relentless flow of exceptional products and



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platforms on the way. We're preparing for major launches with the first Flyknit apparel, starting with the Flyknit
bra, a radically designed comfort cushioning platform and HyperAdapt 2.0, delivering new forms of adaptive
technology at more accessible price points. Plus, we have never-before-seen technology in NBA apparel on the
way, new sustainable innovation brought to scale through some of our most iconic footwear styles and new
additions to the Air Max family that leverage our new capabilities in aerosol manufacturing.

Up and down our categories, we think the consumer's going to be excited about what we have in store in fiscal
'18, and of course, as always, we'll have a few more surprises along the way.

Turning to 2X Speed. The Consumer Direct Offense will intensify our focus on 12 key cities in 10 countries.
Currently, these markets represent over 80% of NIKE's projected growth through 2020. The cities and countries
are now supported by a simplified structure of 4 geographies: North America; Europe, Middle East and Africa;
Greater China; and Asia Pacific and Latin America. The key city strategy will create two big changes. It will add
greater digital expertise and control in the markets where consumer connections happen, and they will be the
source for real-time sensing of the market to influence product creation, primarily through our Express Lane
teams.

The Express Lane serves three functions: the first is to fulfill, and that means more quickly restocking what
consumers want based on real-time sell-through data; the second is update, and that's editing and refreshing
materials, colors or prints on popular existing models based on consumers' insights; and the third is create, and
that's creating new products and moving from design to shelf in half the time.

The Express Lane is already up and running in North America and Western Europe, and this summer, a new
Express Lane will be activated in Asia. As part of our key city approach, we're cutting critical weeks out of the
delivery time in the world's most promising markets for sport.

And through manufacturing partners like Flex, we're also moving at a faster pace than ever before. Flex has
already produced approximately 1 million pairs of footwear across multiple styles, and together, in fiscal '18,
we're piloting more responsive business models to deliver product to market faster. We're ramping up speed at
scale.

One of the areas where I expect to see the most dramatic change quickly is in 2X Direct. We've now aligned our
teams in DTC and Digital to bring the consumer closer to the products, services and experiences that only NIKE
can provide. And leading with mobile, we're unifying and simplifying access for the consumer. Our digital
products just passed an important milestone in fiscal '17. NIKE.com and our apps now total more than $2 billion
in revenue, and that's nearly doubled in just the last 2 years. In fiscal '18, both SNKRS and Nike+ are expanding
into Europe and Greater China.

With the opening of our new Digital Studios, we activated a new vision for the future of sneaker culture and
commerce, tapping into a uniquely creative outlet within our key cities. There's some very exciting work here,
especially in app-based experiences and commerce. Trevor will highlight some of the examples of how these are
coming to life.

In retail, we know the opportunity for innovation isn't ours alone. Innovation in retail is everybody's opportunity.
With Nordstrom, a destination for women, we're combining digital and physical experiences with a dedicated
NIKE and Nordstrom page on Nordstrom's app. Over the past five years with Zalando in Europe, we've had great
success growing our business through an elevated presentation and service. And in China, we have a premium
experience on the world's largest platform, Tmall, where NIKE is the biggest sports brand, reaching an incredible
500 million users.

In the U.S., we're executing a new pilot with Amazon with a limited NIKE product assortment. As we do with all of
our partners, we're looking for ways to improve the NIKE consumer experience on Amazon by elevating the way
the brand is presented and increasing the quality of product storytelling. We're in the early stages, but we really
look forward to evaluating the results of the pilot.

Whether it's through our own channels, creating fresh concepts with longtime partners or exploring new
commerce partners, NIKE's defining what's possible at retail to better serve consumers and unlock growth. We're
making big shifts in the year ahead to our business and within our teams. We're taking the qualities that
differentiate NIKE and making them even stronger. We have a brand that inspires globally a thriving culture of



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innovation, a deep lineup of amazing products, the world's greatest roster of athletes and a consumer-obsessed
model. These moves are about taking action to accelerate growth, and we have a clear plan and a competitive,
talented leadership team to get us there.

Thanks, and now here's Trevor.

Trevor Edwards, President, NIKE Brand:

Thank you Mark. In Q4 and throughout fiscal year '17, the NIKE Brand delivered strong growth, demonstrating
again the power of our uniquely diverse global portfolio. As always, my comments are on a constant currency
basis.

NIKE Brand revenue grew 7% for the quarter and 8% for the year, with double-digit growth internationally in all
quarters this fiscal year. NIKE Brand DTC revenue was up 12% for the quarter. For the year, DTC revenue was
up 18%, driven by online growth of 30%, new stores and comp store growth of 7%. The NIKE Brand is strong,
with an unmatched ability to inspire consumers across the globe. And while we're seeing healthy growth across
many dimensions of our business, we know ample opportunity remains. With our new Consumer Direct Offense,
we are more focused than ever on amplifying those areas where we have momentum and accelerating those
where we have opportunity. We're doing this by bringing the NIKE Brand closer to consumers, moving faster and
serving them more completely.

Mark discussed how our new offense is moving decision-making closer to our consumers so that we may move
at their pace, if not, a step ahead. Let me briefly share the work we're doing in the marketplace and how we
expect it to drive even greater growth.

We have a uniquely powerful connection with our consumers. They want to be a part of our brand, they want a
relationship, and that means we think of membership differently. It's providing distinctive access and improving
the ways we serve them. With these deep connections, it's no surprise that time and again, our consumers
choose us. The results prove this vision with members on our apps spending nearly triple what others spend on
NIKE.com. Through Consumer Direct, we are elevating our concept of membership to take full advantage of this
commercial opportunity. We connect consumers to the product they want through exclusive offerings and
tailored recommendations. For us, membership is an accelerator, a catalyst that drives growth. In Q4, nearly 3/4
of our NIKE.com consumers were members, up 25% and growing, with plans to accelerate through stronger
member benefits and international expansion. We know there are member benefits that only NIKE can provide.
For example, we leverage the breadth and depth of our most coveted products to bring physical and digital retail
together. With our mobile apps, we are disrupting the sneaker shopping experience. This quarter, with SNKRS
Stash, we unlocked access to exclusive products using geolocation, and with Shock Drop, we offered
unannounced releases that surprised the sneaker community. The SNKR app was only available in North
America and is now expanding to Europe, Greater China and Japan. This work is strengthened by our key city
strategy as we move our Digital teams into cities to offer distinct experiences and connections. One exciting
example is a new interactive experience through SNKRS in New York that makes certain styles exclusively
available to members who unlock them through the app's new augmented reality pictures.

We have also began a new partnership with Instagram that will allow consumers to purchase NIKE product
seamlessly in the Instagram app. Clearly, we are boosting our ability to create new ways to serve consumers,
making the entire Nike+ ecosystem available to consumers where they already live.

This is why we are so excited about the Consumer Direct Offense. It will take these elements and all these great
concepts and scale them to make the most of our connections with consumers everywhere. These kinds of
meaningful connections are always elevated during major sports moments, from Breaking2 to the NBA Finals
showdown between Lebron and KD, these incredible sports moments fuel momentum across Running,
Basketball and other key categories in Q4.

Starting with NIKE Sportswear, which draws inspiration directly from performance categories like Running and
Basketball, we had another strong quarter of strong double-digit growth, with Sportswear -- NIKE Sportswear
stands as a nearly $8.6 billion business as we shape the look of sport for our industry. In particular, we are
seeing strong momentum in many iconic styles with -- from the Cortez to the Presto, and the success of the Air
VaporMax, a high-performance running shoe, is energizing the entire NIKE Air platform. As always, we are very



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excited about the innovations in the pipeline that will continue to bring performance to sports style.

And with the reintroduction of the popular Style Guide on NIKE.com, we continue to elevate the experience for
our consumers, driving strong sell-through in products like our Beautiful Power collection in women's. In fact, all
told, our women's business, led by Sportswear, is showing tremendous growth, having outpaced men's over the
full year.

In Running, fiscal year '17 was headlined by the balanced success in performance and lifestyle that Mark
mentioned. For the year, we saw 8% growth with very strong momentum across our international markets. In
performance, we were proud to sweep the podium at the Boston Marathon, with five of the six runners wearing
our new ZoomX technology. We know people are drawn to extraordinary performances, and we worked
throughout Q4 to use our brand to bring this energy to scale.

This, of course, leads to an amazing success we had with Breaking2, where performance innovation ignited
global excitement like only NIKE can. 20 million people watched the live stream on Twitter and Facebook as the
world tuned in. Those are viewership numbers that rival the biggest events in sports.

That attention created global awareness for the Zoom Vaporfly 4%, driving momentum across the entire Zoom
platform, including the new Zoom Fly and the Pegasus 34.

In Basketball, the momentum we have been seeing accelerated as we returned to growth in Q4. Our return to
growth in NIKE Basketball shows the energy we are driving is real and lasting. What's more, as we look at the
industry as a whole, we know that as NIKE Basketball -- as goes NIKE Basketball, so goes the entire basketball
market. The signs of NIKE's Basketball progress are clear. Our strength in footwear came in large part due to
KYRIE 3 remaining the #1 performance Basketball shoe and the Paul George 1 becoming the hottest shoe in the
market with incredible sell-through. Successes like these drove significant market share gains in the all-important
$100 to $150 price point.

Though the overall category declined for the year, NIKE Basketball saw strong double-digit growth in Greater
China and Western Europe.

The innovations we launched create excitement and continue to drive energy for the culture of sport, which we
bring to life through Sportswear. This all adds up to incredible potential as we look to leverage our NBA
partnership to drive our 2X Direct strategy. Yet we aren't waiting. The NBA Finals provided an opportunity to
deeply engage with our consumers. During Game 1, we gave members first access to buy the KD 10, still KD
colorway, as soon as he stepped on the court. This was the kind of on-demand, interactive, digital commerce
experience that you will see more of as our NBA partnership takes off.

Jordan also continued its run of success with an outstanding year of 13% growth. Today, the Jordan Brand is a
$3 billion business. This year, outside of North America, Jordan grew in excess of 25%, showing the incredible
international potential for the brand's signature style and soul. Also, the new Air Jordan 31 Lows, along with the
several other popular styles, drove energy and demand at premium price points.

All told, in Q4, we saw growth across all 3 dimensions of our complete Basketball offense, from NIKE Basketball
to Jordan to Sportswear.

Now turning to our geographies. The success we're seeing internationally has us excited about what the
Consumer Direct Offense will do. These are markets where we're leapfrogging over older models of retail to
drive accelerated growth, and we are bringing these successes domestically as we recalibrate the landscape.

In North America, momentum is building. In Q4, we saw another quarter of revenue growth, driven by
Sportswear and Jordan, gross margin expansion and improving inventory levels. For North America, we've made
great progress in the supply chain managing inventory this year, and today, it's clear we are well on the right
path. At the same time, we still see a dynamic and promotional landscape. This is why we are aggressively
executing our Consumer Direct Offense is so important.

That said, we have tremendous anticipation for the products we will launch this year. Our partners that have
seen the products are excited. Consumers are starting to talk. We have loaded the pipeline and we can't wait for
everyone to see it. That pipeline and the excitement we know it will bring is why we feel so confident about our



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North America business.

In Western Europe, we saw 12% growth for the quarter and 11% for the year as our market position
strengthened. Throughout Europe, we're seeing apparel outpace footwear as our work driving the look of sport
continues to fuel growth. Here's one example we are really proud of. NIKE Sportswear in May was the biggest
month for any category in the history of our Western European business. In Q4, we saw significant strength in
DTC and Digital. Our largest accounts in Western Europe also showed its strong growth, highlighted by strong
momentum with JD and Zalando. At the same time, we activated the Express Lane in Europe, ensuring
consumers are served with stronger, quicker response to the products they love.

In the Emerging Markets, we saw strong double-digit growth across channels and in nearly all territories. Overall
revenue grew 14% for the full year and 18% in Q4. In March, we saw an amazing execution of Air Max Day
throughout the Emerging Markets. A series of city activations with more than 75,000 participants sparked
extraordinary sales, with 100% sell-through of the Air Max 1 and the Air VaporMax styles.

This is yet another example of how our city teams localize global stories and bring them to life for their
consumers.

Finally, in Greater China, the brand is stronger than ever. Mark mentioned, we are the #1 sports brand on Tmall,
and with our digital commerce stats expanding here, we are just beginning to tap into our full potential. For the
full year, we saw 17% growth in -- with quarter 4, up 16%, driven by double-digit growth across most dimensions
of the business. In Q4, we launched “White Hot”, a powerful white sneaker collection, fueled by influence and
then athletes, “White Hot” was an incredible success as NIKE continued to leverage trend-right concepts to go
deep with the styles that consumers want.

Throughout NIKE.com, Tmall and WeChat, we saw strong product sell-through and significant consumer
engagement. Through work like this, we keep our momentum in Greater China moving full speed ahead, and we
plan further acceleration as we expand the Express Lane to this geography.

In fiscal year '17, we saw real successes in our greatest growth opportunities. We also know there are areas
where we can get better. And with the Consumer Direct Offense, I know we will.

Thanks. Now here's Andy.

Andy Campion, Executive Vice President & Chief Financial Officer:

Thanks, Mark and Trevor, and hello, everyone, on the call. Reflecting on our financial performance in fiscal year
'17, I'd like to focus on three key themes that serves an important context going forward.

First, the more closely we connect the NIKE Brand to consumers in the marketplace, the stronger our growth. In
fiscal year '17, our DTC businesses grew 18% on a currency-neutral basis, led by NIKE.com, and our NIKE
branded experiences with partners also grew at a rate that far outpaced last-differentiated multi-brand wholesale
distribution.

Second, we continue to deliver strong growth internationally, and we have even greater potential for growth
ahead. International markets currently represent roughly 55% of our portfolio and grew at a double-digit rate in
aggregate in fiscal year '17. While NIKE is the leading brand in fast-growing developing markets around the
world, including China, current per capita spend on NIKE in those markets is still less than 1/10 of the per capita
spend on NIKE in more developed markets. Over time, macroeconomic drivers and consumers' expanding
passion for sport will create even greater capacity for the NIKE Brand to grow in those markets.

Third, we continue to demonstrate our ability to manage all of the operating levers within our portfolio to deliver
sustainable, profitable growth under a wide range of circumstances. In fiscal year '17, we delivered 16% growth
in earnings per share despite significant geopolitical and FX headwinds and a rapidly evolving competitive and
promotional marketplace.

These themes reinforce why we are so aggressively executing on, and we are so excited about, the potential
long-term financial impacts of our new Consumer Direct Offense.




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First, take 2X Innovation. Innovation fuels growth. We have doubled our investment in innovation over the past
three years, and we're now beginning to see the outsized returns that can be generated through incremental
investment in innovation.

As Mark and Trevor detailed, we broke through the barriers of human potential with the Breaking2 initiative and
the ZoomX platform. We also launched the Air VaporMax platform in Q4. If there was a question as to
consumer's appetite for performance innovation or willingness to pay premium prices for products that exceed
their expectations in terms of performance and style, our launches in Q4 answered those questions. Demand for
the products we launched well exceeded our initial supply. And over the course of fiscal year '18, we will be
scaling these new innovation platforms across our global portfolio of categories and geographies.

To be clear, from a financial perspective, incremental investment in innovation drives asymmetrical returns on
the top line by favorably impacting both our pricing architecture and overall demand.

Second, the benefits associated with doubling our speed favorably impact: one, revenue growth through greater
demand capture; two, gross margin expansion through a higher mix of full price sales; and three, inventory
efficiency as our supply is even more closely tied to real-time consumer demand signals.

While selling out of a style within hours is evidence that we have exceeded consumer expectations, selling out
within hours also represents lost opportunity. By reducing our time-to-market, our Express Lanes in North
America, Western Europe and soon, Asia, are beginning to help us translate data-driven demand signals into
more timely, profitable and capital-efficient revenue growth.

Third, doubling our direct connection to consumers will drive an amplification of our top line growth. Consumers
are showing us through traffic and spending patterns that they want experiences that offer the NIKE products
they love in a NIKE-branded environment with the level of service and experience that only NIKE can provide.
Today, the dimensions of our business that fall within our broad definition of direct represent roughly 35% of our
business on a wholesale equivalent basis but drove 70% of our growth in fiscal year '17. These dimensions are
also more productive and profitable than other less differentiated consumer experiences. For example, fulfilling
demand through NIKE.com generates nearly twice the revenue and significantly higher-margin on each
transaction. And over time, we see the growth of digital as accretive to NIKE's bottom-line profitability. So we will
continue to prioritize and drive a more immediate shift towards more direct service of the consumer.

We are confident that the continued execution of the Consumer Direct Offense will drive NIKE's next horizon of
accelerated growth. Our confidence is evidenced by the recently announced changes within our leadership and
organizational structure. Those changes were not about cost-cutting but rather part of our more deliberate shift in
focus and investment towards fueling growth through this new offense.

Now let me to turn to a brief review of our Q4 and fiscal year '17 results.

In Q4, we delivered growth in line with, and profitability that exceeded, the guidance we provided 90 days ago.
Specifically, NIKE, Inc. Q4 revenue increased 5%, up 7% on a currency-neutral basis. For the full year, NIKE,
Inc. revenue increased 6%, up 8% on a currency-neutral basis. Fourth quarter diluted EPS increased 22% to
$0.60. Full year diluted EPS grew 16% to $2.51, driven by revenue growth, SG&A leverage and a lower effective
tax rate. Gross margin contracted 180 basis points in Q4 and 160 basis points for the full year. For the quarter,
margin contraction was primarily driven by foreign exchange headwinds of approximately 140 basis points as
well as higher product input costs offsetting sustained increases in average selling prices.

Fourth quarter demand creation decreased 10% as our fiscal year spending was frontloaded due to significant
investments around the Olympics and European Football Championships. For the full year, demand creation
increased 2%. Operating overhead decreased 1% for the quarter and was flat for the full year as we continue
editing to amplify, fueling our strategic investments through productivity gains within our core operational
spending. The effective tax rate was 13.7% in Q4 and 13.2% for the full year. The full year rate was 550 basis
points lower than last year's rate, primarily due to a one-time benefit in the first quarter of the fiscal year related
to the resolution with the IRS of a foreign tax credit matter and a decrease in foreign earnings taxed in the U.S.

As of May 31st, inventories were up just 4% as growth in our DTC businesses and increases in average product
cost per unit were partially offset by a 3% decline in NIKE Brand wholesale inventory units.




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Now let's turn to the financial performance for a few of our key operating segments. For the full year, North
America revenue grew 3% on both a reported and currency-neutral basis, led by strong growth in DTC. EBIT
also increased 3%. For the quarter, North America revenue was up 1% on a currency-neutral basis and flat to
prior year on a reported basis. EBIT grew 5% in the quarter, primarily fueled by gross margin expansion.

As we've evidenced over the past several quarters, Futures are no longer a reliable proxy for revenue growth
and our strategic shifts are amplifying this. As such, we continue to see a high single-digit disparity between
revenue growth and Futures growth in North America.

While the North America retail landscape remains promotional, we are executing with greater precision. We
continue to tightly manage supply and demand, and in turn, we delivered margin expansion in the second half
and closed the year with inventories down 6%.

In fiscal year '18, we will more deliberately fuel growth in the direct dimensions of our business while also more
deliberately transforming or transitioning away from other less differentiated and less productive points of
distribution. Accordingly, we're planning overall growth in North America for the full fiscal year, with slight
contraction in the first part of the year as we aggressively drive the strategic shift. Our key measures of success
in fiscal year '18 will include stronger growth in the more direct dimensions of our business, both owned and
partnered; healthy expanding margins for the geography overall; and continued efficiency in the management of
supply and demand.

Now turning to our international geographies. In Western Europe, fiscal year '17 currency-neutral revenue was
up 11%, with strong multidimensional growth across DTC and wholesale, footwear and apparel, all territories and
nearly every category. In Q4, revenue increased 12% on a currency-neutral basis, led by our Sportswear and
Running categories as well as our Young Athletes business. On a reported basis, fiscal year '17 revenue
increased 6% and EBIT declined 16%, reflecting the impact of transactional FX headwinds on gross margin.

Our Emerging Markets geography also delivered broad-based revenue growth. On a currency-neutral basis,
fiscal year '17 revenue grew 14%, led by our Sportswear and Running categories. We also saw double-digit
revenue growth across DTC and wholesale, footwear and several territories. For Q4, currency-neutral revenue
was up 18%, with double-digit growth in most categories in nearly all territories. On a reported basis, fiscal year
'17 revenue increased 8% and EBIT decreased 9% as strong revenue growth was offset primarily by
transactional FX headwinds on gross margin.

Last, but certainly not least, we continue to see extraordinary momentum in Greater China as we delivered
another record-breaking year with over $4 billion in reported revenue and currency-neutral revenue growth of
17%. We saw strong growth across DTC and wholesale, footwear and apparel and nearly all categories. Greater
China is currently the geography where the NIKE Brand is most directly serving the consumer in the
marketplace, leveraging NIKE branded digital and bricks-and-mortar experiences, both owned and partnered, to
exceed consumer expectations and fuel growth. Fourth quarter currency-neutral revenue grew 16%, with
double-digit growth in both footwear and apparel, DTC and wholesale and most categories. On a reported basis,
fiscal year '17 revenue grew 12% and EBIT expanded 10% as strong revenue growth was slightly offset by a
lower gross margin, primarily due to transactional FX headwinds.

Now moving to our outlook for fiscal year '18 and beyond. Given the dynamic operating environment, the
strategic shifts we are driving through the Consumer Direct Offense and significant foreign exchange headwinds,
we are providing more detail on this call with respect to our financial expectations. I'll begin with our currency-
neutral expectations for fiscal year '18, which are an important lens into the underlying health and momentum in
our business.

For the full year, we expect to deliver currency-neutral revenue growth in the mid- to high single-digit range. This
includes growth across all geographies, led by continued strong growth internationally. We expect NIKE, Inc.
gross margin, excluding the impact of foreign exchange, to expand beyond the high end of our stated long-term
goal of 30 to 50 basis points per year. For SG&A, we expect growth in the mid-single-digit range. As a result, we
expect to deliver another year of double-digit currency-neutral EBIT expansion in fiscal year '18. On a reported
basis, at current rates, we anticipate FX will be an approximately $700 million headwind in fiscal year '18 as the
favorable hedges that mitigated and deferred the impacted adverse currency movements in each of fiscal years
'16 and '17 mature and roll forward. As such, we expect fiscal year '18 reported revenue to grow in the mid-




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single digits. As for gross margin, we anticipate modest contraction by as much as 50 basis points, with FX
having a more pronounced impact on the first half of the fiscal year.

We expect SG&A to grow in the mid-single-digit range, inclusive of costs related to our leadership and
organizational realignment. We expect to incur the majority of those costs in the first half of the fiscal year, with
savings being reinvested to fuel growth through our new offense.

Other income and expense, net of interest expense, is expected to be an approximately $30 million to $50 million
expense in fiscal year '18. And we expect our effective tax rate to be between 16% and 18% for the full year.
Note that the impact of stock option exercises under the newly adopted ASU 2016-09 may result in increased
volatility in our quarterly effective tax rate.

Shifting to the first quarter, and it's important to note that year-over-year comparisons will be impacted by various
factors, including the Olympics, European Football Championships, foreign exchange and our exit from the golf
equipment business in the prior year. As such, we expect reported revenue to be flat, which, on a normalized
basis, would be in line with our growth over the past two quarters. We expect gross margin to contract between
150 and 180 basis points, driven by FX headwinds. We expect SG&A to grow in the mid-single-digit range. And
for other income, net of interest expense, we expect a $10 million to $20 million expense in the first quarter.

Looking out to fiscal year '19 and beyond. At current rates, we expect the negative impacts of foreign exchange
to be behind us, positioning us to continue delivering strong growth and expanding profitability on a currency-
neutral operating basis as well as on a reported basis.

With that, we'll now open it up for questions.

QUESTION AND ANSWER SECTION

[Operator Instructions]

Operator

Your first question is from Kate McShane from Citi.

<Q – Corinna Gayle Van der Ghinst >: Hi, it's Corinna Van der Ghinst on for Kate McShane. Thanks for taking
our questions. Maybe you could just start off with more detail on the pilot that you are already doing at Amazon.
Do you guys have any color in terms of the timing of the launch, the segmentation focus that you guys are kind
of aiming for in terms of price points? Are they going to be more comparable to mid-tier premiums? Are you guys
going to be planning on doing any exclusives and just in terms of the timing of why now?

<A – Mark Parker >: Okay. Sure. Let me give you some perspective on how we're looking at our Amazon
partnership. First of all, I would start by saying that our overall goal is to elevate the consumer experience by
better segmenting and differentiating all of our channels. Just as a backdrop, that's foundational for NIKE. Every
partner we have ultimately requires a specific approach, and in other parts of the world, as I mentioned in my
remarks, we're executing with e-commerce platforms like Tmall and Zalando and we've been doing that for over
the past 5 years. With Amazon in the U.S., we're running a pilot that begins with a small product assortment
across footwear, apparel and accessories. And what's most important to us is that we have the opportunity to
elevate how the NIKE Brand is presented on the Amazon platform, and that includes the quality of the product
information and of course, providing a simple experience for the consumer. So we're really looking forward to
see how this pilot combines ultimately the convenience that Amazon is well known for with NIKE's brand and
product power.

<A – Trevor Edwards>: Yes, and I'll just add a couple of things around the merchandising strategy. I think one
of the things that we have been able to do over many years is really just execute a merchandising strategy that
really delivers against a wide range of consumers really across the marketplace. So we've always been very
thoughtful around how we segment and differentiate with our partners, ensuring that they have the right
assortment that allows them to best serve the consumers with the right products. And we will continue to do that
certainly with this Amazon partnership. As Mark talked about, it is really a small pilot and which is just the start,
and obviously, as we continue to work with them, we will -- and we see success, then we'll continue to think



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about how we scale it.

<Q – Corinna Gayle Van der Ghinst >: Okay. Great. And then just for my second question. It looks like North
America and European footwear both accelerated in the quarter, but apparel decelerated on a sequential basis.
Can you kind of walk us through what you're seeing in those categories and kind of your expectations through
the next couple of quarters in terms of how those are progressing? And then if you could provide some
commentary around the current U.S. fulfill environment by channel as you're seeing it.

<A – Trevor Edwards>: Okay, yes, certainly. Let me touch on the apparel piece first. I think one of the things
that you're looking at when you look at the apparel, if you compare it against the prior year, you're making
comparisons when we certainly had the Copa América. So we are seeing -- it is a tough comparison in Q4. And
in North America, we're certainly seeing that because we were doing -- also, there were some promotional
activity in the marketplace. Around apparel, we continue to feel very bullish about our apparel business.
Obviously, as we go into the first quarter, we've got the NBA partnership that we're launching, and we're bringing
some more innovative products. So we're tremendously excited and positive about our apparel business. But not
only in North America, but if you go around the world, we're seeing really it go from strength to strength. So it
really is just a great period.

<A – Mark Parker >: Yes, if I could just add a little bit of broader context too. It's obviously no mystery that the
U.S. marketplace is undergoing quite a transformation. The consumer is leading a lot of that change, and we see
that really as a great opportunity. For us, it's -- it always starts with product. That's how the consumer ultimately
casts their vote. And the good news, I think, from our perspective, is that the product that we've got in the
pipeline, as we mentioned, is as strong as it's ever been across quite a spectrum, men's and women's, young
adults, retro, modern, performance and sportswear. So we feel really good about our complete offense on the
product side. But the important point is that product isn't enough, it's about better services and experiences, and
that's why we believe in this Consumer Direct Offense, I think, enabled by our Express Lane and then creating
more disruption through digital and then a lot of the great work we're doing to scale some of the app-based
commerce that we're doing. So it's a very dynamic environment, but we feel really good we're doing what we
need to, to operate a healthy business.

Operator

The next question is from Omar Saad from Evercore ISI.

<Q – Omar Saad>: I was hoping you could maybe help us understand how you're going to execute some of
these really exciting Consumer Direct Offense strategies. The Express Lane, everything you've got going on, on
the Nike+ membership side. And given that so much of your business is still in that kind of traditional wholesale
channel points of sale and the distribution used there, how do you -- can you integrate some of these new
strategies with that wholesale backdrop? Or is it really something that's more refined and left to sit more
predominantly in your DTC business?

<A – Mark Parker >: Well, let me just start, Omar, with a little broader backdrop. And these changes that we're
making around our Consumer Direct Offense are really about accelerating our growth potential. We've never
really been about sustaining the status quo. It's not a winning proposition. This consumer-led offense for us is
about getting sharper, it's about getting more focused. And it's about, as we've said, accelerating growth through
the direct connections and then the elevated experiences in targeted channels and markets. So -- and as I've
mentioned, it's about innovation and storytelling, editing and focusing. And we have a lot of opportunity there. We
have to be better editors. I'm really confident that we are. We're targeting some of the better innovation stories
and doing a better job, I think, of leveraging and scaling those across multiple categories. And then we've got to
move faster, and that's part of what this offense is all about. So we're looking at going half -- taking half of the
time out of design to shelf for the consumer. And that's a big step forward, and we're looking at continuing to
scale that over time. So there's growth, if you look at it, in all dimensions of our business and that includes
channels as well. But as Andy mentioned, our focus is going to be pushing for the shift to direct where we have
elevated experiences. And that includes, as you mentioned, some of the app-based commerce that we're
working on. Some of the biggest growth that we're seeing is in dot-com. And some of the biggest growth on dot-
com is really through mobile, and the biggest growth in mobile is on app-based commerce. So incredibly exciting
things happening there. So overall, we're incredibly energized, excited for ourselves, but also bringing our



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strategic partners and the rest of the industry along.

<A – Trevor Edwards>: Yes, Omar, a couple of things I'd just maybe add to that, which is, one of the things that
we certainly see in the landscape is the cities are really the center of the action, where you're seeing really
trends drive from the city. You're also seeing the acceleration of expectations in those cities. So one of the things
that we did with our Consumer Direct Offense is we have a real complete offense in the key cities. And what we
mean by that specifically is before we had brand teams and maybe marketplace teams, now we have complete
teams from product to digital, to creative teams to membership teams, all based in the city. And this is a big shift,
and this is where they are able to really use the knowledge that they get around the trends in the marketplace to
drive the connection with the Express Lane to create specific products, to ensure that we can drive the business,
not only in that city, but really across the markets. So for us, it's a very, very important piece. I think the other part
that we did with the reorganization is we really put categories, designed product and merchandising all together
as a full unit, and their job is to ensure that we create the most innovative products and concepts that have
driven all the way through the market. And then also, we combined DTC with our digital organization, so now
they're one unit, and so we have really a one way that the consumer wants to come through the journey of a
direct connection with the brand; we're able now serve them both physically and digitally. So we're super excited
about this, and it really does create an incredible opportunity for us to drive growth.

<Q – Omar Saad>: That's helpful. And then a quick follow-up on the Nike+ memberships. It sounds like that's
really starting to accelerate. Can you give us some color on what you're learning about, how those Nike+
members behave relative to just an ordinary customer? And you also mentioned, I think you're going to
accelerate some of the features and benefits of that program.

<A – Trevor Edwards>: Yes, thanks for that. I mean, we've really seen just great, really great progress with
Nike+, both the SNKRS app. What we've certainly seen is they triple -- that they spend 3x as much, the
members, on the apps versus those who just come through as sort of an everyday consumer. So membership
really has tremendous benefits for us from a business perspective, and we are driving that commercially. We will
also be expanding that really across into Western Europe as well as in China and Japan because it's
predominantly been within North America. And that's really just the start. I mean, we see a tremendous
opportunity here. And like I had mentioned in the opening remarks, consumers expect more from us around
membership, and we have a lot more coming. So we couldn't be more excited as the months go ahead. So stay
tuned. It's going to be fun.

Operator

The next question is from Bob Drbul from Guggenheim.

<Q – Bob Drbul >: I guess the first question that I have is, around the three new platforms, when you look at
some of the bigger platforms and the more recent platforms prior to these, they ramped pretty quickly, I think,
achieving $1 billion faster and faster. Do you have any expectation on how quickly some of these can get to the
scale you're talking about in the next few years?

<A – Andrew Campion>: Yes, that's a great question, Bob. This is Andy. In the past, you've seen platforms
ranging from Free to Lunar to Flyknit start with a bit of a seeding-based approach as we assessed consumer
demand. And we took the exact same approach with the Air VaporMax and the ZoomX platform, which was part
of the Breaking2 initiative, which is start with a healthy amount of supply, but get relief for consumer demand.
And as we said, those products sold out within hours in multiple colorways. And so we -- much like some of the
most compelling innovations we've launched in the past, you'll see us ramping those up or scaling those pretty
significantly. And that's not just the same styles that we launched, but taking the actual innovation, the Air and
the ZoomX cushioning system, across price points and frankly, across categories.

<A – Mark Parker >: Yes, I have to say, I love how the CFO jumps in on the product questions. This is -- let me
just quickly add that the focus on scaling and leveraging platforms is a big focus for us and one of the things
that's going to drive growth and one of the things that this new organization, I think, is going to enable. Editing
and focusing on those biggest opportunities to scale in the innovation arena is absolutely critical. Air VaporMax is
an incredible opportunity as we've seen not only in performance, but in style. It's bringing those 2 worlds
together, and obviously, the consumers responded very well there. A lot of excitement around ZoomX, as I




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talked about, and where that can go. We're just seeing the very front end. I did -- I've talked about React. We're
just starting to come to market with some React products, and that's got massive potential. And there's, frankly, a
couple of others that have huge scale potential that I did not mention and I probably won't go any further right
now, but that we're really excited about. And then we have Flyknit, which, getting outside of footwear for a minute
and looking at Flyknit's potential to scale in apparel, is tremendous. Some real performance breakthroughs there
that also combined innovation and style. I know I say this, but honestly, I've never felt as energized by what we
have from an innovation standpoint coming in the pipeline, and that's why we're so confident.

<Q – Bob Drbul >: And then could I just ask like a couple of quick questions on the Amazon announcement? Is -
- when you think about opening Amazon direct, does that change your view on the NIKE 2020 targets of your
DTC and your NIKE.com, the $16 billion and $7 billion? And is it a global pilot? And will Jordan product be
included in there?

<A – Trevor Edwards>: It's like we said, it's, right now, it's really a small pilot and we have a sort of and very
tailored assortment for Amazon so that we can actually learn as we go through this. In terms of looking forward,
obviously, we have tremendous plans to continue to grow our NIKE.com business and what we talked about,
growing out certainly the apps, not only around the world, but also accelerating the work that we're doing on that.
So you can expect that to continue to grow at a very strong pace. So we're not giving any further guidance at this
point in time, but we certainly feel confident about the growth that we're seeing and it really is part of our Triple
Double strategy. And so the Amazon piece is just one element of how we serve the broader market by making
sure that we are serving consumers wherever they choose to shop and making sure that that's through our
doors, through our wholesale partners as well as through platforms. So we're really looking to make sure we
serve the consumer in the appropriate way.

<A – Mark Parker >: And we expect the digital commerce platforms to be a bigger part of the picture going
forward, not just here in the U.S., but around the world. We've mentioned Zalando and Tmall, but that's going to
be a bigger part of the picture for us.

Operator

The next question is from Jim Duffy from Stifel.

<Q – Jim Duffy>: Mark, my question is, for you, around efforts to compress the product time line and speed
time-to-market to improve responsiveness. What are the steps in the product development cycle that offer the
most opportunity for time savings? Is it more on the design and preproduction side? Or is it more related to
manufacturing and logistics?

<A – Mark Parker >: Yes, that's a good question, and it really -- the answer really is there's opportunity at every
segment of the product creation process through the supply chain. Part of it is in better planning, part of it is in
better editing of the product itself but also of the product line, in general. But everything from rapid prototyping on
the very front end, all the way through some of the modernization techniques and automation that we're
pioneering with partners like Flex, HP, for example, are going to be critical factors there. But part of this is really
staging the innovation. It's tooling-related, making sure that some of the more time-intensive parts of the process
are -- that's where we apply the innovation to cut those time lines down tremendously. And we've already talked
about the three different dimensions of Express Lane. I touched on update, fulfill and then create. And across
those three dimensions, there's tremendous opportunity. Update and fulfill is more straightforward because that's
existing product that we can rally behind quickly. And then create is all about accelerating the whole process
from end to end. But again, I'm really excited about some real step change innovation that the Express Lane
work is going to enable and also our advanced product creation center here in Beaverton with our key
manufacturing innovation partners.

<Q – Jim Duffy>: As a follow-up to that, can you maybe build on that with a comment about opportunities you
used data to better anticipate consumer demand and how that dovetails with the speed-to-market initiatives?

<A – Trevor Edwards>: Yes, it's a great question. In that zone, one of the things, and which is a huge, let's say,
benefit of the Consumer Direct strategy is to have better knowledge of the consumers. It's one of the things that
we continue to work on, which is to be able to have a better read on the demand from the consumers and then




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turn that demand directly into how we come back and give then the products that they actually want. The part
about membership is that we also get to know who actually wants what and what they desire. So that's still part
of the vision that we're working through, which is why data is fundamentally important to understanding the
consumer, who's buying, why they're buying, what they want, what is trending and how we can then put all that
information back into our product creation cycle quickly to then bring -- so we can scale against those
opportunities. So it's a key piece.

<A – Mark Parker >: That's -- actually, this is a huge part of NIKE's future, and frankly, many, many other
companies, is capturing and interpreting that data, turning it into insights, personalizing services experience and
of course, products. And that's going to happen at the local level, and then we're going to aggregate that more
effectively at the Inc. level.

Operator

The last question is from Matthew McClintock from Barclays.

<Q – Matthew McClintock>: On Brand Jordan, I was actually wondering if we could talk about Brand Jordan,
continued strong growth there, $3 billion of revenue. As we look into fiscal '18, what makes you most excited
about the opportunities for that brand specifically? And then can you talk more about your efforts to transcend
the brand beyond its basketball roots and into other product categories such as apparel?

<A – Trevor Edwards>: Yes, certainly. Obviously, we continue to be truly excited about the opportunity of Brand
Jordan and how Brand Jordan continues to perform. So it had a great year, and we envision that it will have a
great year next year again. So one of the areas that we continue to work on is expanding the different consumer
groups that we connect with. One clear opportunity for us is certainly the women's business, which we see
tremendous passion for the brand coming through there, so we will grow the business there. In addition to
continuing to drive its connection with Basketball, so the NBA partnership actually allows us to do some things
with Brand Jordan, so we're very, very excited there. And we will continue to actually sign more athletes and
teams against that business. So we recently did UNC Football. So all of those are really just examples of how
we're expanding the actual positioning of that brand to tap into new consumer groups.

<A – Mark Parker >: $3 billion is an impressive milestone for Jordan. But the international potential for growth is,
as we mentioned, is really significant going forward. Apparel is still underpenetrated. And then as Trevor
mentioned, categories beyond basketball and sportswear are wide open. The Jordan Brand has a huge base, a
huge following, not just here in the U.S., but around the world. So we're excited about capitalizing on that and
taking the brand to more people around the world. So this is a huge growth opportunity for NIKE going forward.

<A – Trevor Edwards>: Yes, I didn't mention apparel. And apparel also continues to grow at a tremendous rate.
So again, just great opportunity around that portfolio. And we're absolutely committed to seeing it grow around
the world.

<A – Mark Parker >: It's also a place where we can leverage NIKE technology and NIKE innovation in a new
way. We can interpret that through the Jordan lens, and that creates more opportunity for us as well.

Nitesh Sharan>: All right. Well, thank you, Matt. I think that's all the time we have for today. Thank you all for
joining us, and we'll speak with you next quarter. Take care.

Operator

This concludes today's conference call. You may now disconnect.




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